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1    Jingjing Ye (Pro Hac Vice)
     YE & ASSOCIATES, PLLC
2    3400 N. Central Expy, Suite 500
     Plano, TX 75074
3
     Attorney for Plaintiff Yuting Chen
4

5
                                UNITED STATES DISTRICT COURT
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7                            NORTHERN DISTRICT OF CALIFORNIA

8                                         SAN JOSE DIVISION
9

10
       YUTING CHEN,                                Case No. 21-CV-09393-NC
11
                                   Plaintiff,      NOTICE OF WITHDRAWAL AS
12                                                 COUNSEL; [PROPOSED ORDER]
               v.
13                                                 Courtroom: Courtroom 5 – 4th Floor
       ARIEL ABITTAN, et al.                       Judge: Hon. Nathanael Cousins
14
                                   Defendants.     Complaint Filed: December 3, 2021
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     NOTICE OF WITHDRAWAL                                          CASE NO. 21-CV-09393-NC
               Case 5:21-cv-09393-NC Document 95 Filed 05/02/23 Page 2 of 2




1           PLEASE TAKE NOTICE that Ye & Associates, PLLC is withdrawing from the
2    representation of Plaintiff Yuting Chen (“Plaintiff”) in the above-captioned matter. The signature
3    of the Plaintiff consenting to the withdrawal is below.
4

5    Consent of Plaintiff Yuting Chen to Ye & Associates, PLLC’s withdrawal:
6
     ___________
7    Yuting Chen
8

9
     DATED:                                       Ye & Associates, PLLC

10                                                By: /s/ Jingjing Ye
                                                          Jingjing Ye
11
                                                  Attorney for Plaintiff Yuting Chen
12

13                                        [PROPOSED] ORDER
14
            Pursuant to Ye & Associates, PLLC’s Notice of Withdrawal as Counsel, and good cause
15
     appearing, the Court ORDERS that Ye & Associates, PLLC is no longer counsel of record for
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17   Plaintiff Yuting Chen in the above-referenced matter.

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19
     Entered this ___ day of ___________, 2023.
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                                                     ________________________________________
21                                                       Hon. Nathanael Cousins
                                                         United States Magistrate Judge
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     NOTICE OF WITHDRAWAL                                                CASE NO. 21-CV-09393-NC
